Case 1:12-cv-01083-JLK Document 17 Filed 03/19/13 USDC Colorado Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO
                                Judge John L. Kane
Civil Action No. 12-cv-01083-AP

DETRON N. SMITH,

     Plaintiff,
v.

MICHAEL J. ASTRUE, Commissioner of Social Security,

     Defendant.


                                      ORDER

KANE, J. ORDERS

     This matter is before the court on Defendant’s Motion to Dismiss (doc. #13), filed

February 14, 2013. The motion is GRANTED. This case is DISMISSED.

     DATED at Denver, Colorado this 19th day of March, 2013.

                                             BY THE COURT:

                                             s/John L. Kane
                                             JOHN L. KANE, SENIOR JUDGE
                                             UNITED STATES DISTRICT COURT
